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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

 RowVaughn Wells,

                        Plaintiff,
                                                     Case No. 2:23-CV-02224
        v.
                                                     JURY DEMAND
 The City of Memphis et al.,

                        Defendants.


   PLAINTIFF’S SUPPLEMENTAL RESPONSE IN OPPOSITION TO DEFENDANT
               CITY OF MEMPHIS’S MOTION TO SUPPLEMENT

       Plaintiff RowVaughn Wells, through her undersigned counsel, respectfully submits this

supplement to ECF 232, which is Plaintiff’s response in opposition to the City’s filing of ECF 230.

       The City filed ECF 230 near the close of business on Friday November 15, 2024, forcing

Plaintiff counsel to draft ECF 232 over a few hours on the weekend of November 16. Members

of Plaintiff’s litigation team were traveling and attending to pre-existing obligations, and did not

have a full opportunity to weigh in on the response and the grave problems presented by the City’s

filing of ECF 230.

       With time today for further contribution by the members of Plaintiff’s attorney team,

Plaintiff believes it necessary and appropriate to bring an additional, serious matter to the Court’s

attention: the City’s filing of ECF 230 circumvented the protections provided for in the Court’s

Protective Order, ECF 213. Specifically, the Court’s Protective Order explicitly set out that the

parties would have 10 business days, after receipt of transcripts, to designate portions of a

transcript as confidential and thereby protect them from public dissemination. In filing ECF 230

on November 15, before the transcripts of the November 11-13 depositions were even generated,


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the City circumvented this protection and disseminated into the public highly sensitive information

long before Plaintiff had the opportunity to designate it as confidential. That brought about the

very harm that the Court’s Protective order was designed to guard against, resulting in broad press

attention to the various derogatory claims set out in the City’s filing.

       The Court’s Protective Order treats as confidential any document or deposition testimony

that reveals “private and/or sensitive information,” including “any . . . information that is

maintained by the producing party on a confidential basis, provided that the producing party has a

legitimate interest in maintaining the confidentiality/privacy of said information.” ECF 213 ⁋⁋

(I)(A)(1), (6). With respect to confidential information revealed at depositions, the Protective

Order provides:

       Portions of depositions shall be deemed [confidential] subject to this Protective
       Order if designated as such no later than [10] business days after the designating
       party’s business days after the designating party’s or witness’s receipt of the
       transcript of such deposition. Any testimony that describes a document designated
       as [confidential] under this Protective Order shall be deemed designated without
       the need for further designation and treated accordingly.

ECF 213 ⁋ IV.

       The City’s publication in ECF 230 of various incendiary claims, all of which the City

asserted, in ECF 230, were gathered in the depositions taken the week of November 15, was a

naked circumvention of the Protective Order, depriving Plaintiff even of the opportunity to

designate the cited portions of the deposition transcripts as confidential. And the various claims

set out in ECF 230 are the exact sort of private information that the Protective Order was designed

to safeguard from public broadcast, involving as they do intimate family relations and other

private, highly sensitive matters, as Plaintiff has described in the sealed versions of both in ECF

232 and ECF 234. In circumventing the obligations of the Protective Order, the City improperly

exposed all these private matters to the public.

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        The damage from the City’s circumvention of the Protective Order has been considerable,

as described in Plaintiff’s response brief, ECF 232. Since Plaintiff filed that response, there has

been additional print and television coverage of the City’s filing and its salacious claims, as an

internet search for Mr. Nichols’s name quickly reveals.

        For the reasons set forth in Plaintiff’s response—and, additionally, because in filing ECF

230 the City circumvented the protections of the Protective Order—Plaintiff respectfully requests

that the Court order the relief sought in Plaintiffs’ response, and reserves the right to seek additional

remedies to redress the harms the City’s publication of ECF 230 has caused.



Dated: November 18, 2024                                Respectfully submitted,



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